       Case 1:16-cv-00840-EJD Document 24 Filed 01/25/18 Page 1 of 1




       In the United States Court of Federal Claims
                                      No. 16-840C
                                (Filed: January 25, 2018)


************************************
                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
*************************************

                                        ORDER

     On January 24, 2018, the parties filed a Joint Revised Motion to Schedule
Summary Judgment Briefing.

      The Court GRANTS the Motion and ADOPTS the schedule for Summary
Judgment Briefing. The dates are as follows:

   •    Plaintiff’s Motion for Summary Judgment                  March 2, 2018.
   •    Defendant’s Response to Plaintiff’s Motion               April 13, 2018.
   •    Plaintiff’s Reply Brief in Support of Motion             May 4, 2018.

IT IS SO ORDERED.
                                                            s/ Edward J. Damich
                                                            EDWARD J. DAMICH
                                                            Senior Judge
